                               Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 1 of 19



                    ng
                      : J e e infonnation contained herein                  fI~~~e:ac;n~~!~n~~~:~
                         i doc]Jet sheet. (SEE INSTRUCTIONS fN NEXT PAGE OF THIS FORM.)
                                                                                                            service of pleadings or oth:
                                                                                                                                                           \'\ ~;;as ~i~tJ
                                                                                                                                                                      except as
                          c rt. This fonn, approved by the JudiCial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the


I. (a) PLAINTIFFS                                                             !I                         I    DEFENDANTS                                                                    o"'
                                                                                                                                                                                            ~,    CJ''
                                                                                                                                                                                                  ·~
                                                                                                                                                                                                   .'
                                                                                                                                                                                                     '
                                                                                                                                                                                                                 l
 Yasin Dawood                                                                li_                             Christopher LaTouche and Dove Transportation, LLC
                                                                                                                                                                                                  ~


     (b)                                                                                                      County of Residence of First Listed Defendant
                                                                                                                                             (L"I U.S. PLAINTIFF CASE,
                                                                                                              NOTE:        IN LAND CONDEMNATION CASES, US'
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
                                                                                                            John T. Pion & Thomas A. Wimmer
Adam D. Flager & Edward J. Zanine                                                                           240 North 3rd Street. Payne Shoemaker Building-10th Floor
One Northbrook Corporate Center, Suite 280, Trevose, PA 19053                                               Harrisburg, PA 17101
                                                                             II
II. BASIS OF JURISDICTION (Ptacean "X"1nOneBoxl!Jn1y)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or Plaintiff
                                                                                                         (For Diversity Cases~nly)                                                    and One Box for Defendant)
O I     U S. Govenunent                 0 3    Federal Question           Iii                                                                     EF                                                 PTF      DEF




                                                                                                                                                                                                                 <.>
           Plaintiff                             (U.S. Government Not a Pajty)                     Citizen of This State                ~Incorporated or Principal Place                                 0   4   0 4



                             u,,a;                                                                                                               ~
                                                                                                                                                              of Business In This State

                                                                            I'
                                                                                                                                                                                                             ~
0 2     U.S. Government                        Diversity                                           Citizen of Another State            0                   Incorporated and Principal Place              0   .
           Defendant                             (Indicate Citi=enship ofPa<ires in Item !II)                                                                 of Business In Another State

                                                                                                   Citizen or Subject of a             0 3       0     3   Foreign Nation                                0 6     0 6
                                                                              :I                     Foreign Count
IV.    NATUREOFSUIT(Placean"X"inOneBoxOnly)                 Ii                                                                                    Click here for: Nature of Suit Code Descriptions .
       .: '':CONTRACT:·"· ·I     ,;:;:,, 'tl:l'~·'TORTS''i,I! ?ir,';1('                            •:;:,, FORFEITLiREIPENAI','11Y"'l")I !',1,W'&1 •'·','BANkRUPTCYrs;:i~; ,11::111.       OTHER STATUTES
                                                                             l'i
0 110 Insurance                         PERSONAL INJURY                 PE{{SONAL INJURY           0 625 Dmg Related Seizure               0 422 Appeal 28 USC 158       0 375 False Claims Act
0 120 Marine                        0   310 Airplane                  0 3651:Personal Injury -           of Property 21USC881              0 423 Withdrawal              0 376 Qui Tam (31 USC
0 130 Miller Act                    0   315 Airplane Product                 , Product Liability   0 690 Other                                   28 USC 157                    3729(a))
0 140 Negotiable Instrument                 Liability                 0 367 :Healtl1 Care/                                                                               0 400 State Reapportionment
0 150 Recovery of Overpayment       0   320 Assault, Libel &                itlrnrtnaceutical                                          ',i».i,PROPERTY·RIGHTS" .'-"' 0 410 Antitmst
      & Enforcement of Judgment             Slander                         !Personal Injury                                           0 820 Copyrights                  0 430 Banks and Banking
0 151 Medicare Act                  0   330 Federal Employers'              !Product Liability                                         0 830 Patent                      0 450 Cmmnerce
0 152 Recovery of Defaulted                 Liability                 0 368 ;IAsbestos Personal                                        0 835 Patent - Abbreviated        0 460 Deportation
      Student Loans                       0 Marine                          i Irijury Product                                                   New Drug Application     0 470 Racketeer Influenced and
      (Excludes Veterans)                 5 Marine Product                     Liability
                                                                              :1                                                       0 840 Trademark                         Cormpt Organizations
0 153 Recovery of Overpayment               Liability                  PERSONAL PROPERTY       lili '  ,i •i, ,'LABOR'\, ..... , '""" ~::~;soeE'l:l:llSEGURrnw;'j1':'c / 0 480 Consumer Credit
      of Veteran's Benefits              50 Motor Vehicle             0 370 !otherFraud
                                                                             1
                                                                                                 0 710 Fair Labor Standards            0 861 HIA (1395ff)                0 490 Cable/Sat TV
0 160 Stockholders' Suits                                             0 371 :iTruth in Lending          Act                            0 862 Black Lung (923)            0 850 Securities/Cmmnodities/
0 190 Other Contract                          Product Liability       0 380! 0ther Personal
                                                                             1


                                                                                  1
                                                                                                 0 720 Labor/Management                0 863 DIWC/DIWW (405(g))                Exchange
0 195 Contract Product Liabill      0    360 Other Personal                 :Property Damage            Relations                      0 864 SSID Title XVI              0 890 Other Statutory Actions
0 196 Franchise                               Injury                  0 385:Property Damage      0 740 Railway Labor Act              0 865 RSI (405(g))                 0 891 Agricultural Acts
                                    0    362 Personal Injury -              Product Liability    0 751 Family and Medical                                                0 893 Enviromnental Matters
                                              Medical Maloractice            II                         Leave Act                                                        0 895 Freedom of lnfonnation
     ·,.'\'REAL" PROPER'f;\;;:,,~i i\!  ,·, CIVII:RIGHTS'li;i! •'vC:" 1 PRIS©NER PETH'IONS1,ll! 0 790 Otl1er Labor Litigation         / c\FED'IllRl\'LJ'AX SlJrES '            Act
0   210 Land Condemnation              0 440 Otl1er Civil Rights      Ha1Ieas
                                                                             11



                                                                             ' Corpus:
                                                                              '                    0 791,. Employee R.etirem.ent           0 870 Taxes (U.S. Plaintiff           0 896 Arbitration
0   220 Foreclosure                    0 441 Voting                 0 463 iA\ien Detainee                  Income Security Act                   or Defendant)                   0 899 Administrative Procedure
0   230 Rent Lease & Ejectment         0 442 Employment             0 510iMotions to Vacate                                                0 871 IRS-Third Party                       Ac1/Review or Appeal of
0   240 Torts to Land                  0 443 Housing/                     Sentence                                                               26 USC 7609                           Agency Decision
0   245 Tort Product Liability               Accormnodations        0 530 ,'General                                                                                              0 950 Constitutionality of
0   290 All Other Real Property        0 445 Amer. w/Disabilities - 0 535 ;Death Penalty            1l~i~Jli,JMMIGRl\.Tl0N:i' ·                                                        State Statutes
                                             Employment               Otlier:                      0 462 Naturalization Application
                                       0 446 Amer. w/Disabilities - O 540 !Mandamus & Otl1er       O 465 Other Irmnigration
                                             Other                  0 550 !:ci~il Rights                  Actions
                                       0 448 Education              0 555 iPrison Condition
                                                                    0 560 :Civil Detainee -
                                                                          ~qnditions of
                                                                              ~~nfinement

V. ORIGIN (Plac
0 I Original                                               0    3
                                                                Remanled from          0 4 Reinstated or 0 5 Transferred from                    0 6 Multidistrict                           0 8 Multidistrict
    Proceeding                                                  Appell~te Court               Reopened                  Another District                 Litigation -                             Litigation-
                                                                       II                                               (specifY)                        Transfer                                 Direct File
                                         Cite the U.S. Civil Statute unller which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSEOFACTION~l2=8~u=.s=.c=.-~1~3 ~
                                      32='a~)~(1 ~)-+-
                                                    1 ~~~~~~~~~~~~~~~~~~~~~~~~~­
                                         Bnef descnplton of cause:           II
                                          Motor vehicle accident \)vith claims of ermanent iniur
VII. REQUESTED IN     0                        CHECK IF THIS IS A CLASS ACTION                        DEMAND$ //.JC,)(CC::S$                                                                       complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.4v.P.                            o i-:: $ S-o,ooo                                                                                      ONo
VIII. RELATED CASE(S)
                                              (See instructions):            II
      IF ANY                                                         JUDGf
DATE                                                                     SIGS'-'AT
10/12/2017
FOR OFFICE USE ONLY

    RECEIPT#                   AMOUNT                                        lPPL YING IFP                                  JUDGE                                  MAG.JUDGE


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                             Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 2 of 19


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                                                                     ;NITED STATES DISTRICT COURT
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                   At:~RNDISTRICT OF PENNSYLVAN.1-DESIGNATION FORM to be used by counsel to Indicate the category of the case for                                                 1hc   purpose of'
    assignment to appropriate calendar.        I!

    Address of Plaintiff:       711 Locust Street, Hummelstown, Dauphin County, PA
    Address ofDefendant:          2477 Old Highway 26, RJ61and, St. Clair County, AL
    Place of Accident, Incident or Transaction:       Derry   To~hship, Dauphin County, PA
                                                                       i            (Use Reverse Side For Additional Spai:e)

                                                                     flrty with any parent corporation and any publicly held corporation ownirfg 10% orunore of its stock?
                                                                       :1



    Does this civil action involve a nongovernmental corporate
        (Attach two copies of the Disclosure Statement Form in     a~cordance with Fed.R.Civ.P. 7.l(a))                                    YesD / No IX

    Does this case involve mullidistrict litigation possibilities?                                                                         Yeso I         NoOl:
    RELATED CASE, IF ANY:
    Case Number:                        ·-··             Judge--+~---------·                                    Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - -

    Civil cases are deemed related when yes 1s answered to any bf the following questions.
                                                                      I,:
    I. Is this case related to property included in an earlier numbered sun pending or within one year previously terminated action in this ctrt'.
                                                                  :                                                                YesD     Nor,(



                                                                                                                                                         I
    2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pendmg or within one year previous terminated
       action in this coun?                                       :
                                                                 ,,


                                                                 !i,,                                                              YesD       No!X
    3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one ye r previously
            terminated action in this court?                           [                                                                   YcsD            NoDl
                                                                       !I


    4. Is this case a second or successive habeas corpus, social :i ecurity appeal, or pro se civil rights case filed by the same individual?
                                                                       i!

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                                                                                                                                           TuD
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    CIVIL: (Place       t/ in ONE CATEGORY ONLY)                      I::!




    A        Federal Question Cases:                                   ,I                                         B.    DlversityJ11rL~diction   Cases:
     I. o Indemnity Contract, Marine Contract, andl All Other Contracts                                            I. o Insurance Contract and Other Contracts
    2. o FELA                                                                                                     2. o Airplane Personal Injury
    3. o Jones Act-Personal Injury                                                                                           ssault, Defamation
    4. o Antitrust
     5. o Patent
    6. o Labor-Management Relations
    7. o Civil Rights
                                                                                                                 Q  .
                                                                                                                               arine Personal Injury
                                                                                                                               otor Vehicle Personal Injury
                                                                                                                             ther Personal Injury (Please specify)
                                                                                                                  7. o Products Liability
    8. o Habeas Corpus                                                                                            8. o Products Liability -                Asbestos
    9. o Securities Act(s) Cases                                                                                  9. o All other Diversity Cases
    I 0. o Social Security Review Cases                                                                                     (Please specify)
    11. o All other Federal Question Cases
          (Please specify)


                                                                                 ARBITRATION CERTIFICATION
                                                                                     (Check Appropriate Category)
                  omas A. Wimmer                                       I ~ounsel of record do hereby certify:
                                                                       1
               suant to Local Civil Rule 53.2, Section 3(c)(2), th ,t to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
        50,0jlo.oo '-"Xclusive of interest and costs;
            Relief other t'han monetary damages is sought.

    DATE:            10/13/17                                                                                                                  ~
                                                                Atlomey-at-Law                                                            Attorney I.D.#
                                                                  Ii
                                               NOTE: A trial de ncivo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.
                                                                       I     I
                                                                       I

    I certify that, to my knowledge, the within case Is not rel~ted to any case now pending or within one year previously terminated action in this court
    except as noted abo,·e.                              a      ..,.....jk-                       i J
    DATE:            10/13/17                         _2:f:{'~ J: Jf'dtf..-.._
                                                                  At!omey-at-Law
                                                                                                                                          _4=5=29:....:4_ _ _ __
                                                                                                                                                     Attorney I.D.#
    CN. 609 (5i2012)


                                                                                                                OC1 13 2017
                                    Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 3 of 19
                                                               II


     o(                                              v~.~.:.i~.T E UNITED STATES DISTRICT COURT
                                                   \1 .
     ....-;::·,   ~
                             \c-o
                                               , . ~iO~E,EASTERN DISTRICT OF PENNSYLVANIA
                                             ·~'Yi IYiA , AGEMENT TRACK DESIGNATION FORM
     (~\

~Jcl) u-·J
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                                    Yasin Dawood
                                                                    i
                                                                                                               CIVIL ACTION
                                                                    I'
                                                                    I
                                                      v.            i!

                                                                     1
                                                                                                               tl ~          ~ tD ~A
                                    Christopher LaTouche and         !1                            :           NO.
                                    Dove Transportation, LLC        Iii

                          In accordance with the Civil J~stice Expense and Delay Reduction Plan of this court, counsel for
                          plaintiff shall complete a Case~, anagement Track Designation Form in all civil cases at the time of
                          filing the complaint and serve a popy on all defendants. (See§ I :03 of the plan set forth on the reverse
                          side of this form.) In the eve: t that a defendant does not agree with the plaintiff regarding said
                          designation, that defendant shatI, with its first appearance, submit to the clerk of court and serve on
                          the plaintiff and all other partie~, a Case Management Track Designation Form specifying the track
                                                                          r
                          to which that defendant believ the case should be assigned.

                          SELECT ONE OF THE FOL OWING CASE MANAGEMENT TRACKS:
                                                                          111




                          (a) Habeas Corpus - Cases bro 1ght under 28 U.S.C. § 2241 through§ 2255.                                ( )
                                                                           11




                          (b) Social Security - Cases req ':testing review of a decision of the Secretary of Health
                              and Human Services denyi1tg plaintiff Social Security Benefits.                                     ( )
                          (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.          ( )
                                                                                I

                          (d) Asbestos- Cases involving;llclaims for personal injury or property damage from
                              exposure to asbestos.      I                                                                        ( )
                                                                                ~\s
                          (e) Special Management - Cas that do not fall into tracks (a) through (d) that are
                              commonly referred to as col plex and that need special or intense management by
                              the court. (See reverse side bf this form for a detailed explanation of special
                              management cases.)           I


                                                                                'I
                          (f) Standard Management- Ca"es that do not fall into any one of the other tracks.
                                                                                                                                  9\
                                                                                11




                                                                                                                                  <J
                            10/12/17                                                 homas A. Wimmer       Defendants
                          Date                                                        Attorney-at-law       Attorney for
                           717-745-8768                                               7-737-5553            twimmer@pionlaw.com

                          Telephone                                                   FAX Number            E-Mail Address


                          (Civ. 660) 10/02




                                                                                                        ~t1 fj 10~1'
        Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 4 of 19



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                                  I

                         Ner ne, Girman,
 Pion                    Win low & Smith, P.C.

                                                                                             Thomas A. Wimmer
                                                                                                 (717)745-8768
                                                                                          twimmer@pionlaw.com


                                                        October 12, 2017

 Via Fed Ex
                                                                                                   11 ?l            I..'
                                                                                                                           .~   ll
 Kate Barkman, Clerk of Court     1,1




 U.S. District Court for the East&m
                                  I
                                    District of PA
 2609 U.S. Courthouse
 601 Market Street
 Philadelphia, PA 19106-1 797 jii
 RE:    Yasin Dawood v. Chri topher LaTouche and Dove Transportation, LLC
                                    11



        Claim No. EWR00048~75
        Our File No. 579.003
 Dear Ms. Barkman:

        Enclosed please find th~ original and two (2) copies of Defendants' Notice of Removal
 and the Rule 7.1 Disclosure ~tatement of Defendant, in the above-captioned matter. Also
 enclosed is the required filing f~e of $400.00.

                                 1
         I am also enclosing an riginal and two (2) copies of Defendants' Motion for Transfer
 to the Middle District of Penns~lvania and Memorandum of Law in Support of the same.

        Kindly file the originai1 and return a time-stamped copy in the self-addressed stamped
 envelope provided. Please dol not hesitate to contact me if you should have any questions.
                                        1




 Thank you for your assistance.

                                                 Very truly yours,

                                                 ~~!fa~
                                                 frl'~s A~~immer
 TAW:rjf
 Enclosures
c: Adam D. Flager, Esquire (viJ'lemail: adam@FlagerLaw.com)
   John T. Pion, Esquire                 I




                                         I
                                         1




 Pittsburgh                                 1·                                                    Harrisburg
1500 One Gateway Center                     I;                                       Payne Shoemaker Building
420 Fort Duquesne Blvd.                     1!                                240 North Third Street, 10'11 Floor
Pittsburgh, Pennsylvania, 15222         i;                                      Harrisburg, Pennsylvania, 17101
Main: (412) 281-2288     Fax: (412) 281 ?388                         Main: (717) 737-5833 Fax: (717) 737-5553
                                        I1




             24-Hour Emergency Rl. esponse          Number: (412) 600-0217 www.pionlaw.com
                                            1
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                                            I.
                                  Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 5 of 19


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                                   UNITED   STATifi;~t1ci                                   COURT FOR THE EASTERN DISTRICT
                                                                                        OF PENNSYLVANIA
                                                                                                                                         7;J
                                                                                                                                         L./
    ''
        \   ',
                 I
                     '\ ;
                      YASIN DAWOOD,                                                               CIVIL DIVISION
                                  Plaintiff

                                                                                                 : JURY TRIAL DEMANDED.

                     CHRIST~~HERLaTOUCHE anl
                     DOVE TRANSPORTATION, LUC                                                                            17 t=;llfHD
                                                                                   I'
                                 Defendants                                                       NO.


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                                                                                                                                     DCT13
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                                                                                                                                               17
                                                                                   , NOTICE OF REMOVAL                        B.v.             lerk
                                                                                                                                             P. Clerk
                             AND NOW, come the                                   t' efendants,   Christopher LaTouche and Dove Transportation,
                                                                                  1
                     LLC, by and through their coun el, PION, NERONE, GIRMAN, WINSLOW & SMITH, P.C.
                                                                                  I



                     and John T. Pion, Esquire and                              Tt'~omas A. Wimmer, Esquire, and pursuant to 28 U.S. C. §1441
                                                                                  'I

                     and § 1446, files this Notice of ' emoval of the foregoing matter from the Court of Common

                     P1eas of Philadelphia County, N1'· I 70902177 to the United States District Court for the Eastern

                     District of Pennsylvania, and in sjlpport thereof, states as follows:

                                                                                   I
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                             1.       Plaintiff commen                            1~ed this civil action by filing a Civil Action Complaint in the
                                                                                 l'I
                      Court of Common Pleas of lhiladelphia County, Pennsylvania at Civil Docket Number

                      170902177 (September Term 20~ 7 - No. 02177) on September 19, 2017.

                             2.       Plaintiff is a citizerilI of the Commonwealth of Pennsylvania.

                             3.       Defendant, Christdpher LaTouche, is a citizen of the State of Alabama.

                             4.                                                  JI
                                                                                  I
                                      Defendant, Dove ransportation, LLC, is incorporated under the laws of the State

                     of Alabama and has its principle llace of business in the State of Alabama.
            Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 6 of 19




        5.      On September        1~,      2017, Plaintiff filed a Civil Action Complaint in the
                                      1i




                                      1



Philadelphia County Court of Cl·i.mmon Pleas which was served by mail on or about September
                                      II


25, 2017.                             :1




                                      i

        6.      Plaintiff is a   cit~zen       of the Commonwealth of Pennsylvania; Plaintiff and

Defendants are diverse, and dive[l:.!sity of citizenship existed at the time this civil action was filed
                                      I'



and at the time of the filing of thi!I Notice of Removal.

                              Compl~int
                                     111




        7.      Plaintiff's                   asserts counts for negligence, carelessness and claims

damages for personal injuries inlluding permanent injuries, including injuries to his neck, back,

right wrist and hand, shoulders,     ~ost-surgical scarring and damage to his bones, cells, muscles,
                                       I


tissues and nervous system, as ;jwell as economic claims for medical expenses that may be

required for an indefinite periob of time into the future, loss of earnings, loss of business
                                      1




        . . and/or impairment
opportumtles       .   .            9
                              f eammg
                                   . capacity
                                     1 1  . or power, th e amounts o f wh"1ch are asserted
                                       I

to exceed the jurisdictional limits! of compulsory arbitration ($50,000.00) in Philadelphia County.

        8.      A fair reading of tr Plaintiff's Complaint, with its inclusion of claims for serious

and permanent injuries, future efnungs loss and past and future medical expenses, reveals an

amount in controversy exceedinl the sum of $75,000.00, exclusive of interest and costs. See

Plaintiff's Complaint found in E

       9.       Accordingly, this
                                    t~ction
                                       I
                                           ibit "A", paragraphs 12-16.

                                               is one in which the District Courts of the United States

possess original jurisdiction undJ 28 U.S. C. §1332.
                                     Ill

        10.     Venue is proper inlllthis Court because it is the district court for the district in

which Plaintiff's cause of action ras original filed.

       11.      This Notice of ReLoval is filed within thirty (30) days after Defendants' receipt

of service of Plaintiff's ComplaiJt at which time it was first ascertained that Plaintiff's claim is
                                      "
             Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 7 of 19




 one which is removable, in that complete diversity exists and Plaintiff claims compensatory

 damages for personal injury, loss of earnings and loss of earnings potential, as well as claims for
                                       1!.1


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                                           1,




 past and future medical expensesJI    1




            12.     Attached hereto aiil Exhibit "A', are true and correct copies of all of the pleadings
                                           ,1


                                           :1




  which have been filed in this :;ction in the Court of Common Pleas in Philadelphia County,
                                 1
  Pennsylvania at Docket SeptemJl er Term 2017 - No. 02177.
                                           11




            13.     Concurrent with    ~ling of this Notice of Removal, Defendants have filed a Notice
 of Filing of Notice of Removil with the Prothonotary of the Court of Common Pleas of

 Philadelphia County, Pennsylvara, advising that Defendants have removed this action to the

 United States District Court for tihe Middle District of Pennsylvania, together with service to all

 parties.                                  11




                                           i
            14.     By filing this Not;ce of Removal, Defendants do not waive any defenses which

 may be available to it.

                  WHEREFORE, the      c~vil     action filed in the Court of Common Pleas of Philadelphia
                                Ji
County, Pennsylvania at Civil D,cket September Term 2017 - No. 02177 is hereby removed to

the United States District Court fo} the Eastern District of Pennsylvania.

                                                              Respectfully submitted,

                                                              PION, NERONE, GIRMAN,
                                                              WINSLOW & SMITH, P.C.

                                                          By:~}f;~
                                                           John T. Pion, Esquire
                                                              PA I.D. #43675
                                                              Thomas A. Wimmer, Esquire
                                                              PA I.D. #45294
                                                              Payne Shoemaker Building, 1oth Floor
                                                              240 North Third Street
                                                              Harrisburg, PA 17101
                                                              #717-745-8768
                                                              Counsel for Defendants
         Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 8 of 19




                                   rERTIFICATE OF SERVICE


       I, Thomas A. Wimmer, $squire, of the law firm of Pion, Nerone, Girman, Winslow &
Smith, P.C., counsel for the Defindants, Christopher LaTouche and Dove Transportation, LLC,
hereby state that a true and corr+! copy of the foregoing Notice of Removal was filed with the
Clerk of Court via U.S. Mail anq a true and correct copy was served upon counsel of record by
                                                                                   F/LEQ
                                   :1




electronic mail on this date on thi~ date as follows:
                                     Adam D. Flager, Esquire                       OCT
                                                                               ~37
                                    1

                                   1




                                    Flager & Associates, P.C.
                                   :I



                                •.· hbrook Corporate center, suite 2so
                          one Nor:                                             e K Clerk
                                                                             BY.
                                   :I1210 Northbrook Drive,                       oep. Clerk
                                  I    Trevose, PA 19053
                               EPiail: adam@FlagerLaw.com


                                                 PION, NERONE, GIRMAN,
                                                 WINSLOW & SMITH, P.C.


Date: October 12, 2017
                                           By:      ~Jt;V~~
                                                 John T. Pion, Esquire
                                                 PA I.D. #43675
                                                 Thomas A. Wimmer, Esquire
                                                 PA I.D. #45294
Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 9 of 19
               Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 10 of 19


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             FLAGt;R:~A~~OGIATES,iP.G:
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             BY:.     EDWARD J: '.ZANIN1··• -•·ESQUIRE
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                                                                                                                                                                                                        JURORS IS REQl)J
                      ADAM .0. FL.AGER, ESQUIRE
             1.D. NO. ·sa873 .& 307062. ..·
             1210 Noi1hbrook Corporat: Center
             Si.lite 280                                                                               1
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             Trevose, PA19053                                                                          !
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             (215) 953-5200                                                                            :1
                                                                                                                                                                                                                            Attorney for Plaintiff
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                                                       IN THE FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

             YASIN DAWOOD                                                                                                                                                                  COURT OF COMMON PLEAS
             711 Locu~t ~tr~t                                                                                                                                                              PHILADELPHIA, PENNSYLVANIA
             Hummelstown, PA 170361
                                   Plaintiff
                                                                                                            1,1




                         v.                                                                             \I                                                                                                                       TERM, 2017
                                                                                                              i

                                                                                                              !

             CHRISTOPHER LaTOUCHE                                                                                                                                                          NO.:
             2477 Ord Highway 26
             Ragland, AL 35131

                                  and

             DOVE TRANSPORTATIOJ LLC
             105 Speedway Industrial DMve
             Lincoln, AL 35096        l!I

                                      Defendants
                                                                                                                  :I                                              ...   NOTICE
                                                                                                                  I                                                     .
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                      Yqu h~v~ ~~n su~ in Court,< If you wi~h to defend against _the ~ims set forth
             in ttigJ9!1owing pages, you lrnust. take a~on within twenty (20)da~ after this Complaint
             and Notice are served, by ~ntenng a written appearance persori~lly or by attorney and
             filing in writing with the Co~"' your cl~fenses or objections to thEf c~jms set forth against
             you. Yo_u are warned th~t,ljifyou_fa.O to_ do so, the ~se may P,f6ceed;~outyqu and a
             ju~gment may be ente~ ~~ainstYi?~ by the Court .Wi~hol.rt further: riotiCE! for .any_ money
             claim~ in the Co111i:itaint.~~ for any ott.i~r claim or relief requested by the plaintiff. You
             may IO$S money or propertSf .9r oth~t· "'1~.ts Important to· you .
                          .. , ·_ -· L                                                                                                                                                                    .                                               .
                   YOU SHOULD TAf<EE'•ifHIS PAPERTO YOUR LAWYER AT ONCE. IF YOU DO
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             OFFICE SET .FORTH.BELOW         FIND 61.tf.WHER~· YOlJCAN ;:GEi'leG& HELP.                                                tcr
             TfUS OFFICE CAN PROVlib'E YOU WitH,INFS.RMATION Asdut H'iRl~tGAlAWYER.
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     IF Y()lJ CANNOT Alf~()~D "f() HIRJ; If.. ~VlfYE;R, Tt-.flS :OFFICE, MA)' BE ABLE
                                  1    1i             '   ',   :   '   .   '   '




TO PROVIDE YOU WITHi'INFORMATION ABOUTAGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELlrlBLE PERSONS AT A REDUCED FEE OR NO FEE.

                             P~ILADl;LPHIA BAR.A~S()CIATION
                         Laher Referral and Information Service
                                One Reading ceriter
                               Philadelphia, PA 19107
                                                  (215) 238-6333


                                                     AVISO

        Le han demandado austed en la corte. Si usted guiere defenderse de estas
demandss expuestas      en la~ paginas si'guientes, usted'liery~ veinte (20) dias d·e plaza al
partir de la fecha de la derrlanda y la notificacion. Hace falta asentar una comparencia
escrita o en persona o con lun abogado y entregar a la corte en forma escrita sus
d~fensas o sus objecione,s ~l~s demandas ~n contra desu persona. Sea avisado que
sr usted no se defiende, la eorte tomara med1das y puede contlnuar la demanda en
contra, suya.
              sin previo avjs~I' p riotificacion.
                                           ,   ,
                                                  Ademas,
                                                   ' .
                                                          la .carte puede, de.cidlr
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                                                                                    a favor
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                                                                                            del
demandante y requiere que! usted cumpla con tOdas las provisiones de esta demanda.
Usted puede perder dinerollo SUS propiedades U otros derechos importantes para usted.

     LLEVE ESTA DEM~.NPA A UN ABOGADO IMMEDIATAMENTE. SI NO TIENE
ABOGA.DO 0 SI NO TIEN~ EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO
VAYA EN PERSONA 0 ~lf.ME POR TELEFONO A LA OFICINA CUYA DIRf::CCION
SE ENCUENTRA ESCRIT~ABAJO PARA AVERIGUAR DONDE SE PUEDE
CONSEGUIR ASISTENCl.4. LEGAL. ESTA OFICINA PU EDE PROVEERLO CON LA
INFORMACION NECESA,IA PARA ALGUILARA UN ABOGADO.

       SI LE FALTA BAST~NTE DINEROPARAALGUILARA UN ABOGADO, ES

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LEGALES A UN P.RECIO         IRlll          EBAJADO PARA LOS QUE SON ELIGIBLES.

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                                             ,, .. ,...   DE FILADELFIA
                       Serv1.cio De Referencia E lnformacion Legal
                                  i One fie~din~ Center
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                               Filadelfia;·f>erinsylvania 19107
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                                  1:              (215) 238-6333
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                                  \!!COMPLAINT· CIVIL ACTION
1.     Plaintiff, Yasin DawJr· is an adult individual residing at 711 Locust Street,

       Hummelstown, PennJylvania.
                                  1




2.     Defendant, Christophf r Latouche, (hereinafter referred to as Latouche) is an adult
                                  .!


                                  I
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       individual residing at 477 Old Highway 26, Ragland, Alabama.

3.     Defendant, Dove Tra,lhsportation, LLC (hereinafter referred to as "Dove") is a

      domestic limlted lla~ility company, authorized to conduct business in the
       Commonwealth of Pe~nsylvanla with a principal place of business located at 105

       Speedway Industrial       ~rive,                  Lincoln, Alabama.

4.     At all times relevant,    1     1
                                           laintiff, a full tort insured, owned, possessed, controlled and

       operated a motor ve~icle which was one of the vehicles involved in the motor

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                                               .

5.     At all times relevant,    ol    1




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                                                     fendant Dove owned, and by their agent, servant, workman

       and/or employee, Defendant Latouche, possessed, controlled and operated a

       tractor trailer which    wls                   one of the vehicles involved in the motor vehicle incident

       described herein.        Al all times relevant, Defendant Latouche was authorized

       and/or permitted to opirate the motor vehicle owned by Defendant Dove and was
                                            1




       operating same within the scope of such authorization and/or permission and/or
                                            !I




       was in the course of pJomoting Defendant's business, mission and/or affairs.

6.    At all times relevant, +fendant Dove regularly conducted business In the County

       of Philadelphia    includi~g. but not limited to, the operation of multiple tractor trailers
       delivering, receiving a for otherwise transporting freight and goods within the City

       of Philadelphia; and/J the solicitation through advertisement of the citizens of
                                                ~I
       Philadelphia County all, for pecuniary gain.



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     7.      On. or about Octot:>~f1. 2015, Plainti~,~ravf!lli~g wf3stpqund on SR322, jus;t prior to

             the   Mid~letown/Huf[nelstOWI) exit, in. Derry Township, Pennsylvani~,                      When

             Defendant Latouche suddenly and · without warning, merged into his lane,

             sidesw.iping Plaintiffi'1l.s vehicle. As a         re~ult, Plaintiff suffered serious injuries set
                                       I
             forth herein at lengt~.

     8.      Defendant Dove is iicartously liable for the actions and conduct of its employee,

             agent, seivant and/+ workman, Defendant Latouche.

     9.      The aforesaid incidelht resulted solely from the negligence and carelessness of the
                                       II        .
             Defendants and wa~ due in no manner whatsoever of any act or failure to act on

             the part of Plaintiff.

     10.     The negligence and        ~carelessness of Defendant Latouche consisted of, but is not
             limited to, the followihg:

             (a)     failure to pro+rly operate and control the vehicle;

             (b}    failure to keeR a proper lookout;
                                        I
             (c)     failureto takeldue note of the point and position of plaintiff;

             (d)     violating the ~rdinan~. statutes and regulations of the Commonwealth of
                     Pev~~Y,~~la~ respect Jo1he proper oPeration of traetor trailer$;
             (e)     violating perti',~ent provisions of app1icable Federal Motor Carrier Safety

              .      Reg~lations:       I.  11




             (f)     failure .to ~x~Tjse d.ue car~ under the circ~mstan~s; , .                •

             (g)     o:er.ating h1·l.l1. •. . . veh1cl.e at a   spE!~~y   ..•wh1ch was excessive under the
                     circumstance!;.             ·

             (h)     i111pr9p,er.rn~J~~g .an~Jor !~he ¢~~mging.

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    11.     Furthermore, the      n~iigence of Defe~d~nt !;>ova consisted of but is not. limited          to

            the following:

            (a)      failure to ascertain that defendant Latouche could safely operate a motor

                     vehicle of tht . type being openated by him at the time of the Incident

                     complained ot_prior to                 entru~ting said vehicle to defendant;
            (b)      failure to pro1erly train and/or supervise defendant Latouche in the proper

                     and safe ope!fation of the motor vehicle which was operated by him at the

                     time of the inJident compiained of;

            (c)      negligent hiri~g and/or retention of defendant Latouche;
            (d)      negligent se1J~tion of an improper contractor for its trucking and/or shipping

                     operations;    1
            (e)      negligently e]trusting said motor vehicle to defendant Latouche despite
                                     1
                     actual or con tructive knowledge that Latouche was not sufficiently skilled

                     or trained to dperate said motor vehicle without risk to himself and others;

                     and;            I
                                     11




          . (f)      otherwise entrusting said motor vehicle to defendant Latouche in a

                     n~g!fgen,t andllsar~less ma'r1ner under the circumstances without regard to
                     Plaintiff.
                                     111



    12.     As    ~ ~irect re~ult of tte afores~id_'neg~i~e~ce ~nd ca~elessness ~f ~he Defe~~a~ts,
            Plar~tiff sustained se11~us a~d painful mJunes, mclu(:frng, but not ".mite~ to: . mJu.nes

                       .            l:                                .·; . '/ .
            to his back, neck, og.ht wnst and ha.nB;. shpulders, post-surgical scarring, and
                                                                                            . •.
            damage to his bon,, ,~!,I~; muscles, ti~sues and nervou~ system, some or al! of

            which m~y be      perrnaln!~nt ip nature.
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13.     As a further result, Plaintiff has been forced to expend various and diverse sums

                               f
        of money in an effort o treat and cure his Injuries and ills and may be required to

        do so for an indefinitJ period of time into the future.

14.     As a further result   01 this incident as aforementioned, Plaintiff has suffered and
        may in the future     s~ffer                mental anguish, emotional suffering and other non-

                                    'I.
              . an d econo re Iasses.
        economic

15.

        chores, life's pfeasu es and opportunities and may continue to suffer such

        interference in the fut~re.

16.     As a further result, PIJintiff has suffered and wiff continue to suffer a severe loss of

            .
        earnings,            JI
                  Ioss of busTess oppo.rt urn·1·1es an dior .rmpairmen
                                                                 .     t of earnrng
                                                                              . . capac1'ty or

        power as a result of tile injuries sustained herein.

        WHEREFORE, PlainJiff, YASIN DAWOOD, demands J'udgment in his favor and .
                                     'I
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                                    l.I
against Defendants, CHRl~jTOPHER LATOUCHE AND DOVE TRANSPORTATION,

                                     lof Fifty Thousand ($50,000.00) Dollars, plus interest, costs
                                     1




LLC, in an amount in excessl

of suit and delay damages.


                                                          BY:



                                                     JURY DEMAND

        Plaintiff hereby demall:lps a jury trial of twelve jurors.
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                                          I               BY:

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                               VERIJ':ICATXbN BASBD UPON PERBONAL RNOWLEDGE
                                             .I              .. .
                                   AND mPORMA'rION ·. SUPPLDm BY COUNSEL



                           I,     Yasin Da,;ood                    , verify that I am the Plaintiff
                                             ~I
              in the foregoing actipn and that the attached Complaint is based
              upon the information l~i which has been gathered by my counsel in
              preparation of this laIINsuit. The language of the Complaint is that
              of counsel.                    I
                                  I have r ad the Complaint, and to the extent that it
                                         .   11    ·.        "•"'""""   .       -          .....    ----- -   -- .......


              is based upon       informa~ion           which I have given to my counsel, it is
              true and correct to lthe best of my knowledge,                                                               information and
              belief.    To     the extent that the contents of the Complaint are that
              of counsel, I have rel11'ed upon counsel in making this Verification.
                           I    understan
                                              I that     intentional false statements herein are
                                             !
              made subject to the p nalties of 18 Pa.                                              c.s.       A. §4904 relating to
              unsworn falsification! made to authorities.
                                              II




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                D?fJi81l.Z, £ -
              DATED




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PION, NERONE, GIRMAN,
  WINSLOW & SMITH, P.C.
By: John T. Pion, Esquire                                Attorneys for Defendants
By: Thomas A. Wimmer, Esqui
jpion@pionlaw.com
twimmer@pionlaw.com
Attorney Identification Nos. 43615145294
Payne Shoemaker Building, 1oth floor
240 North Third Street
Harrisburg, PA 17101
Phone: (717) 745-8768
Fax: (717) 737-5553


                   IN THE FIRST   '.ll~UDICIAL DISTRICT OF PENNSYLVANIA
YASIN DAWOOD                      •           )    COURT OF COMMON PLEAS
                                              )    PHILADELPHIA COUNTY
              v.                              )
                                   '
                                              )    SEPTEMBER TERM, 2017
CHRISTOPHER LaTOUCHE a1id                     )
DOVE TRANSPORTATION, Ltc                      )    No. 02177
                                  11          )
                                              )    JURY TRIAL DEMANDED
                                  I
                                  I;'ENTRY OF APPEARANCE
                                  ,,




TO THE PROTHONOTARY:              I
      Kmdly enter our appearare on behalf of the Defendants, CHRISTOPHER LaTOUCHE

and DOVE TRANSPORTAT!Ot, LLC, regarding the above-referenced matter.

                                  '               PION, NERONE, GIRMAN,
                                                  WINSLOW & SMITH, P .C.



                                                  By      Isl John T. Pion
                                                         John T. Pion, Esquire
                                                         Thomas A. Wimmer, Esquire

Dated: October 11, 2017                           Attorneys for Defendants
                   01
      Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 18 of 19




                                   CERTIFICATE OF SERVICE


                                   l~
       I, John T. Pion, Esquire, ereby certify that a true and correct copy of the foregoing Entry

of Appearance was served upon      ~unsel of record by the Philadelphia Courts Electronic Filing
System and e-mail, this 11th day   pf October, 2017, as follow:

                                    Edward J. Zanine, Esquire
                                    Adam D. Flager, Esquire
                                    Flager & Associates, P.C.
                               1210 Northbrook Corporate Center
                                            Suite 280
                                       Trevose, PA 19053
                                 · (edward@FlagerLaw.com)
                                    (adam@FlagerLaw.com)
                                      (Counsel for Plaintiff)


                                                      PION, NERONE, GIRMAN,
                                                      WINSLOW & SMITH, P.C.



                                                      By      Isl John T. Pion
                                                             John T. Pion, Esquire
                                                             Thomas A. Wimmer, Esquire

                                                      Attorneys for Defendants
      Case 2:17-cv-04591-GJP Document 1 Filed 10/13/17 Page 19 of 19




                                 tERTIFICATE OF SERVICE
                                 'I

                                 11




                                 11




       I, Jolm T. Pion, Esquire, '1ereby certify that a true and correct copy of the foregoing Jury

Trial Demanded was served upol1 counsel of record by the Philadelphia Courts Electronic Filing

System and e-mail, this 11th dayl!of October, 2017, as follow:


                                   Edward J. Zanine, Esquire
                                   Adam D. Flager, Esquire
                                   Flager & Associates, P.C.
                               1210 Northbrook Corporate Center
                                           Suite 280
                                      Trevose, PA 19053
                                  (edward@FlagerLaw.com)
                                   (adam@FlagerLaw.com)
                                    (Counsel for Plaintiff)


                                                     PION, NERONE, GIRMAN,
                                                     WINSLOW & SMITH, P.C.



                                                     By       ls/John T. Pion
                                                             John T. Pion, Esquire
                                                             Thomas A. Wimmer, Esquire

                                                     Attorneys for Defendants
